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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )      CRIMINAL ACTION NO.
        v.                          )          2:06cr71-MHT
                                    )
BERNETTA LASHAY WILLIS              )

                                ORDER

    It       is    ORDERED   that   defendant      Bernetta      Lashay

Willis’s motions for compassionate release (doc. nos.

385, 391, 392, 393, and 409) are set for an evidentiary

hearing by videoconference at 2:00 p.m. on March 19,

2021.        The   courtroom   deputy    shall     arrange    for       the

videoconference.

    It is further ORDERED that the government shall

ensure that defendant Willis is able to participate in

the videoconference from prison.

    DONE, this the 22nd day of February, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
